     Case 4:24-cr-00298          Document 104        Filed on 11/20/24 in TXSD       Page 1 of 2

                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


UNITED STATES OF AMERICA                          '
                                                  '
v.                                                '            Under Seal
                                                  '
EITHAN HAIM                                       §
                                                  '
             Defendant                            '

 MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR THE UNITED STATES

        The United States, by and through undersigned counsel, respectfully request that the Court

permit, Tina Ansari to withdraw as counsel of record for the United States.

        Assistant United States Attorneys Jessica Feinstein and Tyler White will continue to

represent the United States in this case. Given this continued representation, the withdrawal of

Tina Ansari will not delay the progress of this case, otherwise interrupt the working operation of

the Court, or be manifestly unfair to either Party.

        Accordingly, the undersigned counsel respectfully requests that the Court enter an Order

withdrawing Tina Ansari from this case and removing her name from the Court’s CM/ECF

notifications for this action.



                                                        Respectfully submitted,

                                                        ALAMDAR S. HAMDANI
                                                        United States Attorney
                                                        Southern District of Texas

                                               By:      s/ Tina Ansari
                                                        Tina Ansari
                                                        Assistant United States Attorney
                                                        Southern District of Texas




                                            Page 1 of 2
   Case 4:24-cr-00298       Document 104          Filed on 11/20/24 in TXSD      Page 2 of 2


                               CERTIFICATE OF SERVICE

       I certify that on November 20, 2024 I electronically filed this Motion to withdraw using

the CM/ECF system, which sent notification to counsel of record.



                                            By:      s/ Tina Ansari
                                                     Tina Ansari
                                                     Assistant United States Attorney




                                          Page 2 of 2
